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                                 #:121979
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 2 of 65 Page ID
                                 #:121980
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 3 of 65 Page ID
                                 #:121981
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 4 of 65 Page ID
                                 #:121982
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 5 of 65 Page ID
                                 #:121983
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 6 of 65 Page ID
                                 #:121984
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 7 of 65 Page ID
                                 #:121985
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 8 of 65 Page ID
                                 #:121986
Case 2:04-cv-09049-DOC-RNB Document 4384-3 Filed 10/22/08 Page 9 of 65 Page ID
                                 #:121987
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                                 #:121988
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                                 #:122001
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                                 #:122002
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